
9 N.Y.2d 913 (1961)
In the Matter of Richmond County Society for the Prevention of Cruelty to Children, Respondent. Staten Island Mental Health Society, Inc., Appellant; Children's Aid Society et al., Respondents.
Court of Appeals of the State of New York.
Argued April 25, 1961.
Decided May 18, 1961.
Marland Gale for appellant.
Vincent R. FitzPatrick for Mission of the Immaculate Virgin for the Protection of Homeless and Destitute Children, respondent.
John A. Lynch for the Children's Aid Society, respondent.
Concur: Chief Judge DESMOND and Judges DYE, BURKE and FOSTER. Judges FULD, FROESSEL and VAN VOORHIS dissent and vote to reverse and to remit the matter to the Appellate Division for decision, upon the ground that appellant was recognized as an interested party at Special Term and must be deemed an aggrieved party for the purposes of appeal.
Order affirmed, without costs; no opinion.
